Appellate Case: 21-4128      Document: 010110936544        Date Filed: 10/16/2023     Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                          Tenth Circuit

                               FOR THE TENTH CIRCUIT                           October 16, 2023
                           _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 RUSSELL G. GREER,

       Plaintiff - Appellant,

 v.                                                           No. 21-4128
                                                      (D.C. No. 2:20-CV-00647-TC)
 JOSHUA MOON, an individual; KIWI                               (D. Utah)
 FARMS, a website,

       Defendants - Appellees.
                       _________________________________

                                      JUDGMENT
                           _________________________________

 Before BACHARACH, MORITZ, and ROSSMAN, Circuit Judges.
                  _________________________________

        This case originated in the District of Utah and was argued by counsel.

        The judgment of that court is reversed. The case is remanded to the United States

 District Court for the District of Utah for further proceedings in accordance with the

 opinion of this court.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
